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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                  Plaintiff,                  )
                                              )
            v.                                )       No.
                                              )
EIGHTY-TWO THOUSAND, THREE                    )
HUNDRED AND TWENTY-ONE                        )
DOLLARS IN U.S. CURRENCY                      )
($82,321.00),                                 )
                                              )
                  Defendant.                  )

                          VERIFIED COMPLAINT OF FORFEITURE

        COMES NOW, Plaintiff, United States of America, by and through its attorneys, Jeffrey

B. Jensen, United States Attorney for the Eastern District of Missouri, and Stephen Casey,

Assistant United States Attorney, for said district, and for its Verified Complaint for Forfeiture

states as follows:

                                       Nature of the Action

       1.        This is a civil action in rem brought by the United States of America seeking

forfeiture of all right, title, and interest in the above-captioned defendant property pursuant Title

21, United States Code, Section 881(a)(6) and Title 18, United States Code, Sections 981(a)(1)(A).

       2.        The defendant property was seized by law enforcement on or about July 17, 2018

and is described more fully as eighty-two thousand, three hundred and twenty-one dollars in U.S.

currency ($82,321.00)(the “defendant property”).

                                      Jurisdiction and Venue

       3.        This Court has jurisdiction over the subject matter pursuant to 28 U.S.C. §§ 1331,

1345, and 1355 because this is a civil action arising under the laws of the United States, because

                                                  1
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it is a proceeding of forfeiture, and because it has been brought by the United States.

       4.      This Court has jurisdiction over the parties pursuant to 28 U.S.C. §§ 1345 and 1355

because this is a proceeding for forfeiture, and because it has been brought by the United States.

       5.      Venue is proper in the Eastern District of Missouri pursuant to 28 U.S.C. § 1355

because an act giving rise to the forfeiture occurred in the Eastern District of Missouri.

                                      Statutory Framework

       6.      Title 21, United States Code, Section 881(a)(6) authorizes the civil forfeiture of

“all moneys, negotiable instruments, securities, or other things of value furnished or intended to

be furnished by any person in exchange for a controlled substance or listed chemical in violation

of this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       7.      Title 18, United States Code, Section 1956(a)(1)(A)(i) criminalizes conducting a

transaction, including transferring, delivering, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, with the intent

to promote the carrying on of the specified unlawful activity.

       8.      Title 18, United States Code, Section 1956(a)(1)(B) criminalizes conducting a

transaction, including transfer, delivery, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, knowing that

the transaction is designed in whole or in part to conceal or disguise the nature, location, source,

ownership, or control of the proceeds of specified unlawful activity.



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       9.      Pursuant to Title 18, United States Code, Section 981(a)(1)(A), any property, real

or personal, involved in a transaction or attempted transaction in violation of Section 1956 of Title

18, or any property traceable to such property, is subject to civil forfeiture.

                                Facts Giving Rise to the Forfeiture

       10.     Beginning in approximately early 2017, the Drug Enforcement Administration

(“DEA”) has been investigating Gerald Hunter (“Hunter”) for his participation in a conspiracy to

sell cocaine and fentanyl, and launder proceeds from the sale of said drugs.

       11.     Hunter was previously convicted of possession with intent to distribute a controlled

substance in the United States District Court for the Central District of California in 2008 and

sentenced to 200 months in the Bureau of Prisons.

       12.     As a result of the ongoing conspiracy, Hunter was indicted on May 3, 2017 in the

United States District Court for the Eastern District of Missouri for violations of Title 21, United

States Code, Sections 841 and 846. He was declared a fugitive on May 22, 2017.

       13.     On April 27, 2017, Hunter, along with other co-conspirators, transported fentanyl

to St. Louis, Missouri. Investigators were able to apprehend the co-conspirators but Hunter fled on

foot and was not located. While fleeing the scene, Hunter dropped two duffel bags. Visual

observation of the bags revealed bulk substances wrapped in cellophane. Analysis of the contents

of the bags conducted at the St. Louis Metropolitan Police Department Laboratory confirmed the

substances contained a detectable amount of fentanyl.

       14.     The substances recovered from April 27, 2017 were a distributable amount of

fentanyl.

       15.     The DEA investigation further revealed that Temne Ada Hardaway (“Hardaway”),

a paramour of Hunter’s, participated in Hunter’s drug trafficking organization.



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       16.     On May 23, 2018, Hardaway told a confidential source (“CS”) that she could obtain

fentanyl and cocaine for the CS’s “buyers.” Hardaway then brokered a deal for $44,000.00 per

kilogram of fentanyl with the CS.

       17.     Through a series of interviews, DEA learned that Hardaway laundered Hunter’s

drug proceeds through real estate transactions. Hardaway utilized drug proceeds generated from

Hunter’s drug trafficking organization to purchase real estate. Hardaway placed the real estate in

her name, Hardaway, and in the name of her business, Second Chance Financing.

       18.     Hardaway also laundered drug proceeds through bank transactions. Hardaway

utilized multiple people, including her grandmother, Louise Harris and her mother, Michelle

Harris, to deposit drug proceeds into accounts at several banks and credit unions. The deposits

were under $10,000.00 each time in order to avoid reporting requirements and detection by federal

authorities. The depositors then withdrew the deposited cash via cashier’s checks and/or wire

transfers. These deposits were being made in escrow for a house purchased by Hardaway, along

with the involvement of Hunter and other parties, located in Los Angeles, CA. The escrow deposits

were funded almost entirely by multiple cash deposits made on the same day or in close proximity

to the respective escrow deposits.

       19.     On July 12, 2018 in a Superseding Indictment, Hunter and Hardaway were charged

in the Eastern District of Missouri for violations of Title 18, United States Code, 1956 and Title

21, United States Code, Section 841 and 846.

       20.     On July 16, 2018, federal search warrants were issued in the Central District of

California for a variety of locations including the residence of Hardaway.

       21.     On July 17, 2018 investigators executed the federal search warrant at the residence

of Hardaway.



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         22.     During the search, investigators located and seized the defendant property in

Hardaway’s bedroom. Also located and seized in the same room were nine cellular telephones and

photographs of Hunter.

         23.     Investigators interviewed Hardaway during the search. When asked to unlock

electronic devices located in her residence, she stated, “I don’t want to incriminate myself.” She

also said she knows Hunter is a fugitive and she repeatedly refused to aid in his location by

investigators.

         24.     Investigators interviewed Louise Harris, Hardaway’s grandmother who lives in the

same duplex complex as Hardaway. Harris said that she knew who Hunter was and she had seen

him occasionally at Hardaway’s residence. Harris also stated that she had made deposits and

obtained cashier’s checks for Hardaway at different banks. When asked why she went to two

different banks on February 22, 2017 to purchase two $9,500.00 cashier’s checks, Harris

responded that the bank told her she would have to fill out a report for the government if she bought

both at the same bank because it was over $10,000.00.

         25.     DEA received records from the Internal Revenue Service on the earnings of

Hardaway. She earned $13,500.00 in both 2014 and 2015. Total income for 2016 was $24,519.00

and 2017 was $28,380.00. Hardaway’s company, Second Chance Financing, showed no tax return

filed.

         26.     DEA also received records from the Internal Revenue Service for Harris. The total

“adjusted gross income” for 2016 was $43,277.00. There was no income tax return on record for

2017.

                                COUNT ONE – FORFEITURE
                                    21 U.S.C. § 881(a)(6)

         27.     The United States incorporates by reference the allegations set forth in Paragraphs

                                                  5
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1 to 26 above as if fully set forth herein.

        28.     The defendant property is proceeds or involved in an unlawful activity involving

controlled substances.

        29.     Based on the foregoing, the defendant property is subject to forfeiture pursuant to

Title 21, United States Code, Section 881(a)(6) as money furnished or intended to be furnished

in exchange for a controlled substance, as proceeds traceable to such an exchange, and as money

to be used to facilitate a violation of the Controlled Substances Act.

                                 COUNT TWO – FORFEITURE
                                   18 U.S.C. § 981(a)(1)(A)

        30.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 26 above as if fully set forth herein.

        31.     The defendant property is proceeds or traceable to an unlawful activity involving

controlled substances with the intent to promote the carrying of, and to conceal or disguise the

nature, location, source, ownership or control of, a specified unlawful activity.

        32.     Based on the foregoing, the defendant property is subject to forfeiture, pursuant to

Title 18, United Stated Code, Section 981(a)(1)(A) as property involved in a transaction or

attempted transaction in violation of Title 18, United States Code, Section 1956, or as property

traceable to such property.

                                      PRAYER FOR RELIEF

              WHEREFORE, the United States of America prays that a Warrant for Arrest be issued

for the defendant property and the defendant property be condemned and forfeited to the United

States of America, in accordance with the provisions of law; and that the United States of America

be awarded its costs in this action, and for such other relief as provided by law and the nature of

the case may require.


                                                 6
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                           Respectfully submitted,

                           JEFFREY B. JENSEN
                           United States Attorney

                           /s/ Stephen Casey
                           STEPHEN CASEY, #58879MO
                           Assistant United States Attorney
                           111 South Tenth Street, 20th Floor
                           St. Louis, Missouri 63102




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                             Case: 4:19-cv-00888 Doc. #: 1-1 Filed: 04/08/19 Page: 1 of 2 PageID #: 8
OJS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                         DEFENDANTS
United States of America                                                                                       $82,321.00 U.S. Currency


    (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                              LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
AUSA Stephen Casey
U. S. Attorney's Office
II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                     and One Box for Defendant)
’1       U.S. Government                 ’ 3 Federal Question                                                                         PTF     DEF                                         PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State          ’ 1     ’ 1     Incorporated or Principal Place      ’ 4 ’4
                                                                                                                                                      of Business In This State

’2       U.S. Government                 ’ 4 Diversity                                                 Citizen of Another State      ’ 2       ’ 2    Incorporated and Principal Place     ’ 5      ’ 5
           Defendant                                                                                                                                     of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen or Subject of a       ’ 3       ’ 3    Foreign Nation                       ’ 6      ’ 6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                     FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              ’ 610 Agriculture                ’ 422 Appeal 28 USC 158          ’   400 State Reapportionment
’   120 Marine                       ’    310 Airplane                 ’ 362 Personal Injury -         ’ 620 Other Food & Drug          ’ 423 Withdrawal                 ’   410 Antitrust
’   130 Miller Act                   ’    315 Airplane Product              Med. Malpractice           ’ 625 Drug Related Seizure              28 USC 157                ’   430 Banks and Banking
’   140 Negotiable Instrument                Liability                 ’ 365 Personal Injury -                of Property 21 USC 881                                     ’   450 Commerce
’   150 Recovery of Overpayment      ’    320 Assault, Libel &              Product Liability          ’   630 Liquor Laws                   PROPERTY RIGHTS             ’   460 Deportation
       & Enforcement of Judgment             Slander                   ’ 368 Asbestos Personal         ’   640 R.R. & Truck             ’ 820 Copyrights                 ’   470 Racketeer Influenced and
’   151 Medicare Act                 ’    330 Federal Employers’            Injury Product             ’   650 Airline Regs.            ’ 830 Patent                            Corrupt Organizations
’   152 Recovery of Defaulted                Liability                      Liability                  ’   660 Occupational             ’ 840 Trademark                  ’   480 Consumer Credit
       Student Loans                 ’    340 Marine                    PERSONAL PROPERTY                     Safety/Health                                              ’   490 Cable/Sat TV
       (Excl. Veterans)              ’    345 Marine Product           ’ 370 Other Fraud               ’   690 Other                                                     ’   810 Selective Service
’   153 Recovery of Overpayment              Liability                 ’ 371 Truth in Lending                      LABOR                  SOCIAL SECURITY                ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 380 Other Personal            ’   710 Fair Labor Standards     ’ 861 HIA (1395ff)                      Exchange
’   160 Stockholders’ Suits          ’    355 Motor Vehicle                 Property Damage                   Act                       ’ 862 Black Lung (923)           ’   875 Customer Challenge
’   190 Other Contract                       Product Liability         ’ 385 Property Damage           ’   720 Labor/Mgmt. Relations    ’ 863 DIWC/DIWW (405(g))                12 USC 3410
’   195 Contract Product Liability   ’    360 Other Personal                Product Liability          ’   730 Labor/Mgmt.Reporting     ’ 864 SSID Title XVI             ’   890 Other Statutory Actions
’   196 Franchise                            Injury                                                           & Disclosure Act          ’ 865 RSI (405(g))               ’   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS             ’   740 Railway Labor Act          FEDERAL TAX SUITS              ’   892 Economic Stabilization Act
’   210 Land Condemnation            ’    441 Voting                   ’ 510 Motions to Vacate         ’   790 Other Labor Litigation   ’ 870 Taxes (U.S. Plaintiff      ’   893 Environmental Matters
’   220 Foreclosure                  ’    442 Employment                      Sentence                 ’   791 Empl. Ret. Inc.               or Defendant)               ’   894 Energy Allocation Act
’   230 Rent Lease & Ejectment       ’    443 Housing/                     Habeas Corpus:                      Security Act             ’ 871 IRS—Third Party            ’   895 Freedom of Information
’   240 Torts to Land                        Accommodations            ’   530 General                                                       26 USC 7609                        Act
’   245 Tort Product Liability       ’    444 Welfare                  ’   535 Death Penalty                                                                             ’   900Appeal of Fee Determination
’   290 All Other Real Property      ’    445 Amer. w/Disabilities -   ’   540 Mandamus & Other                                                                                 Under Equal Access
                                             Employment                ’   550 Civil Rights                                                                                     to Justice
                                     ’    446 Amer. w/Disabilities -   ’   555 Prison Condition                                                                          ’   950 Constitutionality of
                                             Other                                                                                                                              State Statutes
                                     ’    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                               Appeal to District
                                                                                                                  Transferred from                                                       Judge from
’1       Original        ’ 2    Removed from                ’ 3Remanded from                      ’4
                                                                                            Reinstated or                ’ 5
                                                                                                                  another district    ’ 6 Multidistrict                        ’ 7       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                  Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             21 USC 881; 18 USC 981
VI. CAUSE OF ACTION                         Brief description of cause:
                                            Forfeiture of $82,321.00 U.S. Currency
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                    DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER F.R.C.P. 23                                                                                                          JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
    04/08/2019
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                    JUDGE                           MAG. JUDGE



                   Print                               Save As...                             Export as FDF                       Retrieve FDF File                             Reset
JS 44 Reverse (Rev. 11/04)
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                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
UNITED STATES OF AMERICA

                                           ,   )
                              plaintiff,       )
                                               )
               v.                              )   Case No.
$82,321.00 U.S. Currency                       )
                                     ,         )
                            defendant.         )



                            ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY WHEN
INITIATING A NEW CASE.


    THIS CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

AND ASSIGNED TO THE HONORABLE JUDGE                                                .



    NEITHER THIS CAUSE, NOR A SUBSTANTIALLY EQUIVALENT COMPLAINT,

PREVIOUSLY HAS BEEN FILED IN THIS COURT, AND THEREFORE MAY BE

OPENED AS AN ORIGINAL PROCEEDING.


The undersigned affirms that the information provided above is true and correct.



Date:

                                                     Signature of Filing Party
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                 Plaintiff,                   )
                                              )
           v.                                 )    No.
                                              )
EIGHTY-TWO THOUSAND, THREE                    )
HUNDRED AND TWENTY-ONE                        )
DOLLARS IN U.S. CURRENCY                      )
($82,321.00),                                 )
                                              )
                 Defendant.                   )

                         WARRANT FOR ARREST OF PROPERTY

TO: THE UNITED STATES MARSHAL AND/OR ANY OTHER DULY AUTHORIZED
    LAW ENFORCEMENT OFFICER FOR THE EASTERN DISTRICT OF MISSOURI

     Whereas, on April 8, 2019, the United States of America filed a Verified Complaint for

Civil Forfeiture in the United States District Court for the Eastern District of Missouri, against

the above-named defendant property, alleging that said property is subject to seizure and civil

forfeiture to the United States for the reasons mentioned in the complaint; and

     WHEREAS, the defendant property is currently in the possession, custody, or control of

the United States; and

     WHEREAS, in these circumstances, Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the arrest of the defendant property; and

     WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it;

     NOW THEREFORE, you are hereby commanded to arrest the above-named defendant

property by serving a copy of this warrant on the custodian in whose possession, custody, or
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control the property is presently found, and to use whatever means may be appropriate to protect

and maintain it in your custody until further order of this Court,

     YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

                                                GREGORY J. LINHARES, CLERK
                                                United States District Court


                                        By:
                                                Deputy Clerk

                                        Date:
